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                                   3                                UNITED STATES DISTRICT COURT

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                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                   7   UNITED STATES OF AMERICA,
                                   8                  Plaintiff,                             No. CR 14-00175 WHA

                                   9           v.

                                  10   PACIFIC GAS AND ELECTRIC                              CLARIFICATION RE RESPONSES
                                       COMPANY,
                                  11
                                                      Defendant.
                                  12
Northern District of California
 United States District Court




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                                  14        First, in all responses, if a PG&E submission states that a witness has no memory of an

                                  15   event occurring – or words to that effect – then the submission must go a step further and state

                                  16   whether (or not) the witness has a memory of the event not occurring.

                                  17        Second, any time a submission uses an acronym or abbreviation, the submission must

                                  18   explain what it means. This can be done in a footnote attached to the reference or in a separate

                                  19   glossary. The glossary should go back to cover all abbreviations and acronyms in the July 28

                                  20   submission (Dkt. No. 1408 and exhibits), and forward. This applies not only to submission

                                  21   memoranda but also to all exhibits and attachments.

                                  22        Third, PG&E should submit the transcripts and/or summaries referenced in our prior

                                  23   order at Dkt. No. 1419 (at p. 2, lines 7–14) no later than AUGUST 31, 2021, AT NOON.

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                                  25   Dated: August 23, 2021.

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                                                                                              WILLIAM ALSUP
                                  27                                                          UNITED STATES DISTRICT JUDGE
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